

Matter of Cecil T. N. (Kascha P.) (2025 NY Slip Op 02346)





Matter of Cecil T. N. (Kascha P.)


2025 NY Slip Op 02346


Decided on April 23, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 23, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
VALERIE BRATHWAITE NELSON
DEBORAH A. DOWLING
LOURDES M. VENTURA, JJ.


2023-11136
 (Docket No. N-11658-20)

[*1]In the Matter of Cecil T. N. (Anonymous), Jr. Administration for Children's Services, respondent; Kascha P. (Anonymous), appellant.


Leighton M. Jackson, New York, NY, for appellant.
Muriel Goode-Trufant, Corporation Counsel, New York, NY (Melanie T. West and Amanda Abata of counsel), for respondent.
Twyla Carter, New York, NY (Dawne A. Mitchell and Judith Stern of counsel), attorney for the child.



DECISION &amp; ORDER
In a proceeding pursuant to Family Court Act article 10, the mother appeals from an order of the Family Court, Kings County (Amanda E. White, J.), dated October 6, 2023. The order continued the placement of the child in the custody of the Commissioner of Social Services of the City of New York until the next permanency hearing or further order of the court. Assigned counsel has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the appellant.
ORDERED that the appeal is dismissed as academic, without costs or disbursements; and it is further,
ORDERED that counsel's application for leave to withdraw as counsel for the appellant is denied as academic.
The mother's appeal from the order must be dismissed as academic, since that order was superseded by an order dated January 25, 2024, awarding custody of the subject child to the paternal grandmother (see Matter of Agam B. [Janna W.], 143 AD3d 702, 702-703). Furthermore, the child is now 18 years old and is no longer subject to the custody and parental access provisions of the order (see Family Ct Act § 119[c]; Matter of Skye H., 195 AD3d 711, 712-713). In light of the foregoing, the application of the mother's counsel for leave to withdraw as counsel is denied as academic (see Matter of Sylvie S. [Cynthia W.], 195 AD3d 850).
LASALLE, P.J., BRATHWAITE NELSON, DOWLING and VENTURA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








